Case 1:10-cv-02671-SLT-VVP Document 23

UNITED STATES DISTRlCT COURT
EASTERN DISTRICT OF NEW YORK

Filed 08/05/10 Page 1 of 2 Page|D #: 598

 

 

_____ __ __ __d_,____X
GOVERNMENT EMPLOYEES INSURANCE
CO., et al.,
Plaintiffs,
-against-
MICHAEL D. GREEN, M.D., et al.,
Defendants
_______________________________________ X
STIPULATION

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

counsel for Plaintiffs and Defendants, Michael Green, M.D., Clifford Beinart M.D., Vista

Medical Diagnostic, P.C. and Total Global Medical, P.C. (“Defendants”) that Defendants’ time

to answer and/or move With respect to the Plaintiffs’ Cornplaint is extended up through and

including Septernber 24, 2010. Defendants hereby vvaive any affirmative defense based on lack

of personal jurisdiction and/or improper service of process.

Dated: Uniondale, Nevv York

August 5, 2010

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Diagnosric, P.C. and Toral Global

Medical, P. C.

Case 1:10-cv-O2671-SLT-VVP Document 23 Filed 08/05/10 Page 2 of 2 Page|D #: 599

SO ORDERED:

 

U.S.D.J.

Dated: , 2010

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